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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                     Exhibit D
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                                                                            Page 1

 1                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
 2                                    COLUMBIA DIVISION
 3            THE SOUTH CAROLINA STATE
              CONFERENCE OF THE NAACP,
 4            et al.,
 5                    Plaintiffs,
 6            vs.                    CASE NO.:        3:21-CV-03302-MBS-TJH-RMG
 7            THOMAS C. ALEXANDER,
              et al.,
 8
                      Defendants.
 9            _____________________________________________________
              VIDEOTAPED                 (Appearance via Video Conference)
10            DEPOSITION OF:             PAULA BENSON
11            DATE:                      July 13, 2022
12            TIME:                      10:04 a.m.
13            LOCATION:                  Robinson Gray
                                         1310 Gadsden Street
14                                       Columbia, South Carolina
15            TAKEN BY:                  Counsel for the Plaintiffs
16            REPORTED BY:               Mary K. Stepp, Court Reporter
                                         (Appearance via Video Conference)
17            _____________________________________________________
18
19
20
21
22
23
24
25

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                                                                    Page 239

 1            areas.     And what -- what made it so important to keep

 2            areas together, so that they could receive an

 3            effective representation.

 4                          That has been the theme throughout our

 5            process, throughout the public hearings that were

 6            given, and at every step of the -- the process.                The

 7            public hearings have been placed on the website till

 8            people were aware.      There have been press releases

 9            that have been sent out that have said this is the

10            information that we're gathering.             There were

11            documents that are included on the website, which

12            explain to the public information being gathered

13            and -- and how to provide it to the subcommittee and

14            to the staff.

15                          So throughout the process, there was ample

16            opportunity for anyone interested in being part of

17            the process to either call the staff, if they were

18            not sure how to proceed, and get further information

19            or to submit through the portal or to submit via an

20            e-mail.     All of that was kept and maintained and --

21            and posted on the website.

22                  Q.      You testified about these guidelines a

23            number of times.      And let me just ask you

24            specifically, does S-865, the congressional map, the

25            plan as passed, does it meet the criteria of these

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                                                                    Page 240

 1            guidelines?

 2                  A.      It does.

 3                  Q.      And not every specific example of every

 4            line or every comment that might be made by someone

 5            is not listed in those guidelines, correct?

 6                  A.      No, no.

 7                  Q.      And that doesn't change whether the

 8            guidelines were complied?

 9                  A.      No, it does not.        And if there was

10            competing testimony that had to be taken into

11            consideration.

12                  Q.      Adriel asked you a question, and he said

13            if the staff never disclosed it to the public -- if

14            this was never disclosed to the public, how would the

15            public know.     And I think you have an example on that

16            list of communities of interest where somebody

17            testified, let's keep the Sixth District the same,

18            right?

19                  A.      That's correct.

20                  Q.      So the public was on notice in a number of

21            ways, correct?

22                  A.      They were.     And the group, like the NAACP

23            and the League of Women Voters, also put out videos

24            of their own for their groups, which told the public

25            where to seek information from our website and -- and

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 1                            CERTIFICATE OF REPORTER
 2                  I, MARY K. STEPP, Notary Public for the State of
 3            South Carolina at Large, do hereby certify that the
 4            foregoing transcript is a true, accurate, and
 5            complete record.
 6                  I further certify that I am neither related to
 7            nor counsel for any party to the cause pending or
 8            interested in the events thereof.
 9                  Witness my hand, I have hereunto affixed my
10            official seal this 29th day of July, 2022, at
11            Campobello, Spartanburg County, South Carolina.
12
13
14
15
16
17
18                       <%21890,Signature%>
19                       ____________________________
                         Mary K. Stepp, Notary Public
20                       My Commission Expires:
                         March 1, 2028
21
22
23
24
25

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                                                                      Page 251

 1       Robert E. Tyson, Esq.

 2       rtyson@robinsongray.com

 3                                 July 29, 2022

 4       RE: South Carolina Conference Of The NAACP v. Alexander, Thomas

 5            7/13/2022, Paula Benson (#5318158)

 6            The above-referenced transcript is available for

 7       review.

 8            Within the applicable timeframe, the witness should

 9       read the testimony to verify its accuracy. If there are

10       any changes, the witness should note those with the

11       reason, on the attached Errata Sheet.

12            The witness should sign the Acknowledgment of

13       Deponent and Errata and return to the deposing attorney.

14       Copies should be sent to all counsel, and to Veritext at

15       erratas-cs@veritext.com.

16

17        Return completed errata within 30 days from

18      receipt of testimony.

19         If the witness fails to do so within the time

20      allotted, the transcript may be used as if signed.

21

22                       Yours,

23                      Veritext Legal Solutions

24

25

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 1       South Carolina Conference Of The NAACP v. Alexander, Thomas

 2       Paula Benson (#5318158)

 3                          E R R A T A       S H E E T

 4       PAGE_____ LINE_____ CHANGE________________________

 5       __________________________________________________

 6       REASON____________________________________________

 7       PAGE_____ LINE_____ CHANGE________________________

 8       __________________________________________________

 9       REASON____________________________________________

10       PAGE_____ LINE_____ CHANGE________________________

11       __________________________________________________

12       REASON____________________________________________

13       PAGE_____ LINE_____ CHANGE________________________

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15       REASON____________________________________________

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17       __________________________________________________

18       REASON____________________________________________

19       PAGE_____ LINE_____ CHANGE________________________

20       __________________________________________________

21       REASON____________________________________________

22

23       ________________________________            _______________

24       Paula Benson                                     Date

25

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 1       South Carolina Conference Of The NAACP v. Alexander, Thomas

 2       Paula Benson (#5318158)

 3                       ACKNOWLEDGEMENT OF DEPONENT

 4            I, Paula Benson, do hereby declare that I

 5       have read the foregoing transcript, I have made any

 6       corrections, additions, or changes I deemed necessary as

 7       noted above to be appended hereto, and that the same is

 8       a true, correct and complete transcript of the testimony

 9       given by me.

10

11       ______________________________             ________________

12       Paula Benson                                     Date

13       *If notary is required

14                          SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                          ______ DAY OF ________________, 20___.

16

17

18                          __________________________

19                          NOTARY PUBLIC

20

21

22

23

24

25

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